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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

David Zwick
                                 Plaintiff,
v.                                                  Case No.: 1:14−cv−05044
                                                    Honorable Thomas M. Durkin
Inteliquent, Inc., et al.
                                 Defendant.



                            NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 26, 2015:


       MINUTE entry before the Honorable Thomas M. Durkin:Status hearing held on
3/26/2015. This action is referred to Magistrate Judge Kim for a settlement
conference.Mailed notice(srn, )




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